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              DATE:                   May 22, 1992

              PARTICIPANTS:

              Thomas McLaughlin            -     MCLAUGHLIN
              Dino Calabro                 -     CALABRO


              ABBREVIATION:

              Unintelligible               –     [UI]
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 1     CALABRO:          I have to stay with Richie.
 2
 3     MCLAUGHLIN:       I was with him yesterday.
 4
 5     CALABRO:          What’d he say?
 6
 7     MCLAUGHLIN:       I says, I whipped the old man on him.
 8
 9     CALABRO:          What’d he say?
10
11     MCLAUGHLIN:       I said, “You can't be the man if you're going to
12                       work.”
13
14     CALABRO:          What’d he say?
15
16     MCLAUGHLIN:       “I can’t do things by myself.”
17
18     CALABRO:          What?
19
20     MCLAUGHLIN:       “I can’t do things by myself.”        I said, “Listen,
21                       you ain’t the man that did -“
22
23     CALABRO:          What do you mean, he can’t do things by himself?
24
25     MCLAUGHLIN:       I don’t know wanna hear one fuckin word.
26
27     CALABRO:          I know he’s going to work.
28
29     MCLAUGHLIN:       He said, “I don’t want to hear one fuckin’ word
30                       out of your mouth. You’re the man. He’s like
31                       smirking, laughing.
32
33     CALABRO:          Yeah right.
34
35     MCLAUGHLIN:       You took a ride with Lurch to check out that
36                       thing, right?
37
38     CALABRO:          No.
39
40     MCLAUGHLIN:       Oh.
41
42     CALABRO:          What are you talking about?       Oh, no, no.
43
44     MCLAUGHLIN:       U/I.
45
46     MCLAUGHLIN:       You know our in-laws?
47
48     CALABRO:          Yeah.

                                             2
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 1     MCLAUGHLIN:       Two!
 2
 3     CALABRO:          Yeah?
 4
 5     MCLAUGHLIN:       Yeah.
 6
 7     CALABRO:          I don't know.
 8
 9     MCLAUGHLIN:       Yeah.
10
11     CALABRO:          I don’t know what you mean.
12
13     MCLAUGHLIN:       Two, two goners.
14
15     CALABRO:          Movies?
16
17     MCLAUGHLIN:       Yeah.
18
19     CALABRO:          When?
20
21     MCLAUGHLIN:       Today.
22
23     CALABRO:          What time?
24
25     CALABRO:          I don’t know.     You already seen it?
26
27     MCLAUGHLIN:       I didn’t go to the movies, but I know.         But I
28                       know.
29
30     CALABRO:          Yeah?
31
32     MCLAUGHLIN:       You know my friend Happy, right?        We were chilling
33                       in front of the yard.
34
35     CALABRO:          Yeah.
36
37     MCLAUGHLIN:       The scummer who had a hard on for him.
38
39     CALABRO:          Yeah.
40
41     MCLAUGHLIN:       They were supposedly hanging in front of Rib's.
42
43     CALABRO:          Yeah.
44
45     MCLAUGHLIN:       Yeah.
46
47     CALABRO:          You watch TV and everything?
48

                                             3
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1     MCLAUGHLIN:       No, I just heard.
2
3     CALABRO:          Oh shit, people are nuts.       Let me know what
4                       happens.




                                            4
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              DATE:                   June 4, 1992

              PARTICIPANTS:

              Thomas McLaughlin             -    MCLAUGHLIN
              Dino Calabro                  -    CALABRO


              ABBREVIATION:

              Unintelligible                –    [UI]




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 1     MCLAUGHLIN:       Where are you?
 2
 3     CALABRO:          Home.
 4
 5     MCLAUGHLIN:       Staying in?
 6
 7     CALABRO:          No, I gotta go out in a little while.         What are
 8                       you doing?
 9
10     MCLAUGHLIN:       Nothing.    I gotta shower.
11
12     CALABRO:          Coming out, right?
13
14     MCLAUGHLIN:       Yeah.
15
16     CALABRO:          Fuckin, shit.
17
18     MCLAUGHLIN:       It’s nice out man.
19
20     CALABRO:          I know.
21
22     MCLAUGHLIN:       Going by yourself?
23
24     CALABRO:          This kid is like missing.
25
26     MCLAUGHLIN:       What, Lurch?
27
28     CALABRO:          Yeah.
29
30     MCLAUGHLIN:       He called yesterday, my house, but I wasn’t home.
31                       He didn’t beep me, nothing like that.
32
33     CALABRO:          What time?
34
35     MCLAUGHLIN:       Last night, some time.       I wasn’t home.
36
37     CALABRO:          Last night?
38
39     MCLAUGHLIN:       Yeah.
40
41     CALABRO:          That’s cause he wants the old scratch.
42
43     MCLAUGHLIN:       Nah, he owes me scratch. Maybe, he does the whole
44                       missing in action on purpose.
45
46     CALABRO:          I don’t know.
47
48     MCLAUGHLIN:       Why,    was he supposed to go with you today?

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 1     CALABRO:          Yeah.
 2
 3     MCLAUGHLIN:       Does he know he’s supposed to go?
 4
 5     CALABRO:          I left messages for him last night and even your
 6                       cousin’s leaving messages. Um, you know, just to
 7                       come today. Cause I think we’re gonna drive
 8                       somebody home.
 9
10     MCLAUGHLIN:       Oh.
11
12     CALABRO:          Mic, I’m tired man.
13
14     MCLAUGHLIN:       I woke up, I said forget it.
15
16     CALABRO:          Big Daddy’s been up since 2:30.
17
18     MCLAUGHLIN:       What?
19
20     CALABRO:          Big Daddy’s been up since 2:30.
21
22     MCLAUGHLIN:       What do you mean, this morning?
23
24     CALABRO:          Yeah.     I swear to god.
25
26     MCLAUGHLIN:       And you couldn’t go back to sleep?
27
28     CALABRO:          I went back to sleep for a little while.         Then I
29                       got beeped, but I knew I had to go.
30
31     MCLAUGHLIN:       Oh you left in the morning?
32
33     CALABRO:          I left in the morning at 2:30.
34
35     MCLAUGHLIN:       Oh.
36
37     CALABRO:          I got up, I got up at quarter of three, I left and
38                       I got home at 6 o’clock, 7 o’clock. And I tried
39                       to lay down for a while.
40
41     MCLAUGHLIN:       Uh huh.
42
43     CALABRO:          Fuckin’ couldn’t sleep.      I was sleeping and the
44                       car was beeping.
45
46     MCLAUGHLIN:       What time, what are you leaving in a little while?
47
48     CALABRO:          I'm gonna get a beep at 2 o’clock.        Will you be in

                                             7
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 1                       before?
 2
 3     MCLAUGHLIN:       I’ll try.
 4
 5     CALABRO:          What time is it?
 6
 7     MCLAUGHLIN:       12:30
 8
 9     CALABRO:          So it’s an hour and a half.       I'm gonna be by the
10                       park
11
12     MCLAUGHLIN:       What one?
13
14     CALABRO:          P and O. I’m gonna take my brother’s car and then
15                       from there, I'll leave. Be there in an hour or so.




                                             8
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              DATE:                   June 4, 1992

              PARTICIPANTS:

              Thomas McLaughlin             -    MCLAUGHLIN
              Richard Greaves               -    GREAVES


              ABBREVIATION:

              Unintelligible                –    [UI]




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 1      GREAVES:         Hello?
 2
 3      MCLAUGHLIN:      Lurch?
 4
 5      GREAVES:         Yeah?
 6
 7      MCLAUGHLIN:      I’m gonna talk to Fat Boy now, he’ll do it for
 8                       you. Don’t worry about it.
 9
10      GREAVES:         What?
11
12      MCLAUGHLIN:      I’m gonna talk to Fat Boy now, he’ll do it for
13                       you.
14
15      GREAVES:         [UI]
16
17      MCLAUGHLIN:      Alright, alright, alright.
18
19      GREAVES:         Listen-
20
21      MCLAUGHLIN:      I’m going to the park.        Want to meet me there and
22                       we’ll talk?
23
24      GREAVES:         What time?
25
26      MCLAUGHLIN:      I’m leaving my house in about ten minutes.
27
28      GREAVES:         I’ve gotta get my suit and do a couple of things.
29
30      MCLAUGHLIN:      What time will you be by?
31
32      GREAVES:         Like about 3, 3:30?
33
34      MCLAUGHLIN:      I’m gonna be there between 3 and 3:30.
35
36      GREAVES:         Alright Zeke, alright.




                                             10
